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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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SILVON SIMMONS,                                           AFFIDAVIT IN RESPONSE
                                                          TO MOTION TO COMPEL
                    Plaintiff,                            Case No.: 17-cv-6176

                    v.

JOSEPH M. FERRIGNO, II, SAMUEL GIANCURSIO,
MARK WIATER, CHRISTOPHER MUSCATO,
ROBERT WETZEL, MICHAEL CIMINELLI, JOHN
DOES 1-20, CITY OF ROCHESTER,
SHOTSPOTTER INC., SST, INC., JOHN DOES 21-30
and PAUL C. GREENE,

                Defendants.
______________________________________________

BRANDON LA SAGE, being duly sworn, deposes and says:

      1.     I am a Senior Information Analyst for the City of Rochester (“City”) in the

Department of Information Technology. As part of my employment duties, I oversee

Information Technology employees and the maintenance of information system

applications and databases.

      2.     In my position, I am fully familiar with the former City’s AVLS and TracStar

system.

      3.     Though I was not in charge of that system I do have knowledge of the

TracStar system and how it operated.

      4.     There was no retention period in place for TracStar data or records

received by the system. Normally this would mean it would default to Information

Technology systems catch all preservation of three years. However, this system was

set up with an automatic 30-day removal of data because of the amount of data
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TracStar produced.

      5.     This system was set up on an automatic schedule which removed all

records after 30 days. Attached as Exhibit A is a printout of the removal of data during

2018 which would read exactly as the one from April 1, 2016 would read.

      6.     The April 1, 2016 data would have been removed on May 1, 2016 unless it

was separately pulled prior to May 1, 2016. In this case it was not.

      7.     This automatic job of removing the data after 30 days was built into the

system to prevent a bloat of data as it tracked data (GPS coordinates approximately

every 30 seconds or less).

      8.     Each vehicle that this system was installed in would produce

approximately 43,200 records per day. This would have overburdened the City of

Rochester’s mainframe unless it was regularly removed.

      9.     Additionally, there were many system program updates/upgrades which

caused the TracStar system to reboot and remove any previously stored data from our

records. Such an upgrade occurred around June or July of 2016 which would have

permanently removed the data if it had not been purged during the automatic 30-day

removal.

      10.    Removal of data means that it is purged from our database and written

over by new information or data making the previously stored data in that computer

space unusable or irretrievable.

      11.    The City of Rochester outsourced its management and maintenance of

the TracStar application to a company called Bright Computers which controlled the

upgrades and how it affected our databases.

      12.    I have searched all active databases and computers in the City of
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Rochester and all deactivated computers and databases for TracStar data and the only

data which I have located were the two partial Microsoft Sequel Databases that I

forwarded to Mr. Campolieto and I have been told that he forwarded those to Michael

Hughes, the CEO of TracStar.



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                                        ________________________
                                             Brandon La Sage
Sworn to before me this
10th day of March, 2022


Notary Public
